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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,
                                     Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM
                          v.

 JASON KESSLER, et al.,
                                     Defendants.



          [PROPOSED] ORDER SEALING PLAINTIFFS’ TRIAL EXHIBIT LIST

        WHEREAS, on July 15, 2021, the Court ordered the parties to “exchange and file exhibit

 lists on or before September 14, 2021.” (ECF No. 991).

        WHEREAS, Plaintiffs’ filed their exhibit list on September 14, 2021. (ECF No. 1071).

        WHEREAS, Plaintiffs’ exhibit list inadvertently included information designated as

 “Confidential” and “Highly Confidential” under the Order for the Production of Documents and

 Exchange of Confidential Information (“Protective Order”).

        WHEREAS, Plaintiffs will file with the Court on September 15, 2021, a version of their

 exhibit list that does not include confidential or highly confidential information.

        IT IS HEREBY ORDERED, that Plaintiffs’ Trial Exhibit List (ECF No. 1071) is hereby

 sealed pursuant to the Court’s Protective Order and Local Rule 9.
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       Dated:

       SO ORDERED

                                                     _______________________
                                                     Hon. Norman K. Moon
                                                     United States District Judge




                                      2
